                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE



 UNITED STATES OF AMERICA,                             )
                                                       )
 v.                                                    )      No. 3:07-CR-44
                                                       )      (Phillips)
 LUIS ERASMO ROSALES-RAMIREZ                           )


                                        ORDER

              This matter is before the court on the government’s objections to the Report

 and Recommendation filed November 16, 2007, in which the magistrate judge

 recommended that defendant’s motion to suppress evidence seized from the Placita De

 Los Vientos residence be granted. On January 10, 2007, the defendant entered a guilty

 plea pursuant to a plea agreement with the government. Accordingly, the government’s

 objections to the Report and Recommendation [Doc. 185] are DENIED AS MOOT.



                                         ENTER:


                                                s/ Thomas W. Phillips
                                              United States District Judge




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